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8                   IN THE UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )          CASE NO. 2:06-0390 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND [PROPOSED]
                                   )          ORDER TO EXCLUDE TIME
14   JIAN HONG LIANG, et al.       )
                                   )
15                                 )
                    Defendants.    )
16   ______________________________)
17

18        The parties request that the status conference in this case
19   be continued from May 14, 2010 to June 25, 2010 at 10:00 a.m.
20   They stipulate that the time between May 14, 2010 and June 25,
21   2010 should be excluded from the calculation of time under the
22   Speedy Trial Act.   The parties stipulate that the ends of justice
23   are served by the Court excluding such time, so that counsel for
24   the defendant may have reasonable time necessary for effective
25   preparation, taking into account the exercise of due diligence.
26   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.        Specifically,
27   all defense counsel have been provided with approximately 1135
28   pages of discovery, including CD’s, and DVD’S.        All counsel need

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1    additional time to prepare the matter further, review the
2    discovery provided and continue their investigation of the
3    matter.
4         Additionally, all parties stipulate that this matter is
5    complex within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii) and
6    Local Code T-2, and because of the nature of the prosecution and
7    the number of defendants, it is unreasonable to expect adequate
8    preparation for pretrial proceedings or trial itself within the
9    time limits established by 18 U.S.C. § 3161.       This matter was
10   previously found complex by the U.S. Magistrate during the
11   initial appearances of each defendant and by this Court by
12   stipulation of the parties during the last status conference on
13   December 11, 2009.
14        The parties stipulate and agree that the interests of
15   justice served by granting this continuance outweigh the best
16   interests of the public and the defendant in a speedy trial.          18
17   U.S.C. § 3161(h)(7)(A).
18                                          Respectfully Submitted,
19                                          BENJAMIN B. WAGNER
                                            United States Attorney
20

21   DATE: May 12, 2010               By:    /s/ Heiko P. Coppola
                                            HEIKO P. COPPOLA
22                                          Assistant U.S. Attorney
23

24   DATE: May 12, 2010                      /s/ J. David Nick
                                            J. DAVID NICK
25                                          Attorney for Defendant Jian
                                            Hong Liang
26
                                             /s/ David Fischer
27                                          DAVID FISCHER
                                            Attorney for Defendant En Hao
28                                          Lin

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1                                            /s/ Scott Cameron
                                            SCOTT CAMERON
2                                           Attorney for Defendant Rui Liu
3
                                            SO ORDERED.
4

5    DATE: May 11, 2010
                                            /s/ Edward J. Garcia
6                                           Senior U.S. District Judge
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